 Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 1 of 49          PageID 1




                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TENNESSEE

                                                     )
PROTECT OUR AQUIFER,                                 )
ALABAMA CENTER FOR SUSTAINABLE                       )
ENERGY (dba ENERGY ALABAMA), and                     )
APPALACHIAN VOICES,                                  )
                                                     )
                          Plaintiffs,                )      Case No. _______
                                                     )
             v.                                      )
                                                     )
TENNESSEE VALLEY AUTHORITY,                          )
                                                     )
                          Defendant.                 )


                                    COMPLAINT



       Plaintiffs Protect Our Aquifer, Energy Alabama, and Appalachian Voices

(“Conservation Groups”) respectfully allege as follows:

                            NATURE OF THE ACTION

      1.     This litigation arises from a fundamental and unlawful change in the

relationship between the Tennessee Valley Authority (“TVA”) and its electric

distribution customers. In August of 2019, TVA began pressuring local distributors

into signing a so-called “long-term agreement” that is dramatically different from

TVA’s prior power supply contracts. The “long-term agreement” automatically

extends itself each year so that the contract never erodes or expires with the

passage of time. In addition, if a local distributor wants to terminate a contract, the

contract requires the distributor to provide TVA with twenty (20) years’ advance


                                          1
    Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 2 of 49        PageID 2




written notice of termination. In such event, the contract subjects the local

distributor to severe penalties during the twenty-year termination period.

        2.      The practical effect of TVA’s so-called “long-term agreement” is that

the contract, once signed, will last forever. TVA’s Never-ending Contract 1 also

places restrictive caps of three to five percent (3-5%) on the amount of power that

local distributors can produce and procure locally from clean energy sources such as

solar. In addition, TVA’s Never-ending Contract is exclusive, meaning that local

distributors are forbidden from selling or supplying power outside the confines of

the contract.

        3.      TVA relies heavily on fossil fuels, such as coal and natural gas, in

order    to   generate   electrical   power.   TVA   adopted   and   implemented   its

anticompetitive perpetual contracts in an effort to shield itself forever from market

forces, including beneficial market forces that increasingly favor clean energy

generated from renewable sources like solar. TVA’s public filings reveal that it is

increasingly concerned about competing with solar and other distributed energy

resources as the price of solar energy continues to fall and as energy consumers

increasingly demand cleaner energy alternatives. Accordingly, TVA implemented its

Never-ending Contract program as a means of permanently restricting the ability of

local distributors to procure cheaper and cleaner power locally or from outside the

TVA system. In fact, because they will never expire, the Never-ending Contracts



1The term “Never-ending Contract” refers to the instrument that TVA entitled
“Long-Term Agreement” as approved by the TVA Board of Directors on August 22,
2019, a true and correct copy of which is attached hereto as Exhibit B.
                                           2
 Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 3 of 49       PageID 3




will forever prevent local distributors from ever negotiating with TVA in the future

in order to obtain cheaper, cleaner electricity.

      4.     In August of 2019, TVA’s Board of Directors expressly conditioned its

approval of the Never-ending Contract program “upon satisfactory completion of

any required environmental reviews.” (Minutes of Meeting of TVA Board of

Directors – August 22, 2019, pg. 29). In spite of that clear directive, TVA

management implemented the Never-ending Contract program without conducting

any environmental analysis and evaluation as required by the National

Environmental Policy Act, 42 U.S.C. § 4321 et seq. (“NEPA”).

      5.     TVA’s complete failure to comply with NEPA deprived Conservation

Groups, local distributors, and other interested stakeholders of vital information

regarding alternatives to the Never-ending Contract and its potential impacts on

the environment. NEPA has “twin aims:” first, it obligates federal entities to

consider every significant aspect of the environmental impact of a proposed action;

second, it ensures that a federal entity will inform the public that it has indeed

considered environmental concerns in its decision-making process, providing a

springboard for public comment on the agency’s decision. Dep't of Transp. v. Pub.

Citizen, 541 U.S. 752, 768 (2004); Baltimore Gas & Elec. Co. v. Natural Res. Def.

Council, 462 U.S. 87, 97 (1983); see 40 C.F.R. § 1502.1. TVA’s complete failure to

comply with NEPA prevented Conservation Groups, local distributors, and other

interested stakeholders from providing input on TVA’s monumental program

change before TVA implemented the change.


                                           3
 Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 4 of 49          PageID 4




      6.     TVA’s decision to brazenly disregard the environmental evaluation and

public comment requirements of the National Environmental Policy Act renders the

Never-ending Contracts unlawful, void, and subject to being vacated by this Court.

      7.     The Never-ending Contracts also violate the provisions of the

Tennessee Valley Authority Act of 1933. That statute prohibits the use of perpetual

agreements by specifically providing that contracts for the sale of electric power

must be “for a term not exceeding twenty years.” 16 U.S.C. § 831i (emphasis

added).

      8.     Conservation Groups seek a judicial declaration that TVA’s adoption

and implementation of the Never-ending Contracts violates NEPA, exceeds TVA’s

statutory authority, and is arbitrary, capricious, an abuse of discretion, and

otherwise not in accordance with law or procedure required by law. 5 U.S.C. § 706.

In addition, Conservation Groups request that the Court vacate the Never-ending

Contracts and enjoin their future use.

                     FEDERAL QUESTION JURISDICTION

      9.     This action is brought under the judicial review provisions of the

Administrative Procedure Act, 5 U.S.C. §§ 701—706 (“APA”). TVA’s adoption and

implementation of its Never-ending Contract program, without complying with the

National Environmental Policy Act, 42 U.S.C. § 4321 et seq., and in violation of the

TVA Act, 16 U.S.C. § 831 et seq., is a “final agency action for which there is no other

adequate remedy.” 5 U.S.C. § 704.




                                          4
 Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 5 of 49         PageID 5




      10.    This Court is authorized to issue a declaratory judgment and further

relief pursuant to the APA, 5 U.S.C. § 706, and Declaratory Judgment Act, 28

U.S.C. §§ 2201–2202. An actual controversy within the meaning of the Declaratory

Judgment Act exists between the parties.

      11.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1331 (federal question jurisdiction).

                                        VENUE

      12.    This Court is a proper venue for these proceedings pursuant to 28

U.S.C. § 1391(e)(1), which provides for venue over proceedings against federal

agencies. Defendant TVA is a corporate agency and instrumentality of the United

States. A substantial part of the events giving rise to Conservation Groups’ claims

occurred in this District because the entirety of the Western District of Tennessee is

within TVA’s service area.

      13.    A substantial part of TVA’s power generation and transmission occurs

within the Western District of Tennessee. TVA supplies energy to twenty-two (22)

local distributors in West Tennessee. TVA has negotiated, executed, and performed

Never-ending Contracts with approximately seventeen (17) local distributors in

West Tennessee. In addition, TVA’s largest customer Memphis Light Gas & Water

(“MLGW”), located in the Western District of Tennessee, represents approximately

nine percent (9%) of TVA’s total revenue. MLGW is publicly considering whether to

leave the TVA system rather than sign a Never-ending Contract. TVA also

generates and transmits power from approximately eight (8) generation facilities in


                                           5
 Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 6 of 49        PageID 6




West Tennessee to perform its Never-Ending Contracts in West Tennessee and

throughout its service area. Plaintiff Protect Our Aquifer is also headquartered

within this District.

                                   ABOUT TVA

      14.    Defendant TVA is a corporate agency and instrumentality of the

United States created by and existing pursuant to the Tennessee Valley Authority

Act of 1933. See 16 U.S.C. § 831 et seq. (“the TVA Act”). The TVA Act provides that

TVA “[m]ay sue or be sued in its corporate name.” 16 U.S.C. § 831c(b). TVA operates

the nation’s largest public power system. It supplies power in most of Tennessee,

northern Alabama, northeastern Mississippi, southwestern Kentucky, and in

portions of northern Georgia, western North Carolina, and southwestern Virginia.

TVA’s Power Service Area comprises 202 counties and approximately fifty-nine

million acres. TVA provides power to a population of nearly 10 million people, and

TVA’s total annual revenues exceed $10 billion.

      15.    TVA generates and sells wholesale electric power to 153 local

distributors that, in turn, distribute electricity to residential, commercial, and

industrial customers within their service areas. Those non-profit distributors

include publicly-owned municipal power systems and member-owned rural electric

cooperatives. TVA receives no federal funding, deriving virtually all of its revenues

from electricity sales.

      16.    TVA relies heavily on burning fossil fuels in order to generate power.

As of October 2018, TVA operated twenty-six (26) active coal-fired generating units


                                         6
 Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 7 of 49           PageID 7




at six plant sites. (TVA 2019 Integrated Resource Plan, Volume II, § 2.3.1). During

fiscal year 2018, TVA contracted to purchase 14.9 million tons of coal for burning in

its coal-fired power plants. Id.

      17.       In addition to burning coal, TVA burns other fossil fuels, particularly

natural gas and some diesel. TVA has eighty-seven (87) gas-fueled simple-cycle

combustion turbine units at nine sites as well as twenty-one (21) combined-cycle

natural gas fueled units at eight sites. (TVA 2019 Integrated Resource Plan, Volume

II, § 2.3.3).

      18.       In addition to burning fossil fuels like coal and natural gas, TVA

generates power through the use of nuclear power plants, hydroelectric dams, and a

very limited amount of wind and solar capacity. Coal and gas combined account for

approximately 45% of TVA’s power generation, while generation from wind and

solar account for only 3%.

      19.       For fiscal year 2019, TVA depicted its energy generation as follows:

                               Wind & Solar            TVA EE
                                   3%                   2%



                                        Hydro
                                         11%
                                                       Nuclear
                                                        39%
                                        Gas
                                        26%
                                                Coal
                                                19%




(TVA Power Supply Flexibility Proposal, Final Environmental Assessment, Figure 3-

1).
                                                7
 Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 8 of 49          PageID 8




      20.    In 2019, TVA’s generation system featured ninety-nine (99) watts per

customer of solar energy capacity, placing it ninth out of the thirteen largest

utilities in the Southeast. TVA’s ranking is projected to fall further in the next five

years, as utilities throughout the region have committed to increase solar capacity

at a faster pace than TVA. For example, in 2019 the leading utility offered 1,755

watts of solar capacity per customer—compared to TVA’s ninety-nine (99) watts per

customer. That disparity will only grow by 2024, when the leading utility is

forecasted to provide 2,718 watts per customer, while TVA is projected to provide

only 303 watts per customer. (Solar in the Southeast - Southern Alliance for Clean

Energy Annual Report, June 23, 2020, pg. 6).

      21.    Tennessee, a state served almost entirely by TVA, lags behind its peers

with regard to solar energy capacity. Among the eight states of the Southeast,

Tennessee ranks sixth in solar capacity. Whereas top-ranking North Carolina

produces 5.94 percent of its electricity from solar, Tennessee produces only 0.54

percent from solar. For California, the national leader, that figure exceeds twenty

percent. Tennessee is likely to fall further behind, as the state’s solar capacity is

projected to grow at a slower rate than all but one Southeastern state over the next

five years. (Solar State by State – Solar Energy Industries Association,

https://www.seia.org/states-map).

     22.     TVA’s power operations significantly impact the environment in the

Tennessee Valley. Relying mostly on nuclear, coal, and gas plants, TVA’s generation




                                          8
 Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 9 of 49          PageID 9




system significantly impacts air quality, water resources, and wildlife, while

emitting greenhouse gases that contribute substantially to climate change.

     23.     With more than 16,200 miles of transmission lines and 500

substations, TVA’s transmission system principally affects land use, vegetation, and

wildlife. TVA’s use of billions of gallons of water to cool coal and gas-burning power

plants, and other TVA facilities, affects the quantity and quality of Tennessee’s

aquifers and surface water resources. In addition, TVA sets the rates for electricity

for its vast Power Service Area, affecting energy efficiency, distributed energy

resources, energy burden, and economic activity throughout the region.

     24.     TVA maintains its headquarters in Knoxville, Tennessee, and service

of process may be made on TVA through its Chief Executive Officer, Jeffrey J.

Lyash, 400 West Summit Hill Drive, Knoxville, Tennessee, 37902.

                       ABOUT CONSERVATION GROUPS

     Protect Our Aquifer

      25.    Plaintiff Protect Our Aquifer is a 501(c)(3) non-profit organization

dedicated to preserving and protecting the Memphis Sand Aquifer for the benefit of

present and future generations. It is headquartered in Memphis, Tennessee.

      26.    Protect Our Aquifer brings this action on its own institutional behalf

and on behalf of its supporters in western Tennessee. Many supporters of Protect

Our Aquifer are Memphis Light Gas & Water (“MLGW”) ratepayers who obtain

their drinking water from the Memphis Sand Aquifer.




                                          9
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 10 of 49       PageID 10




     27.    The Memphis Sand Aquifer is a precious and limited natural resource

that underlies much of West Tennessee. The aquifer supplies Memphis and Shelby

County with clean, reliable drinking water. According to the United States

Geological Survey, the Memphis, Tennessee area is one of the largest metropolitan

areas in the world that relies exclusively on groundwater for municipal supply.

Large withdrawals have caused regional water-level declines of up to 70 feet. (U.S.

Geological Survey, Ground-Water Depletion Across the Nation, USGS Fact Sheet-

103-03, 3 (2003)). The large withdrawals of groundwater for municipal supply in the

Memphis, Tennessee area have caused interstate water concerns and disputes,

including over continued and increased pumping in the Memphis area.

     28.    The Memphis Sand Aquifer is also vulnerable to contamination from a

variety of sources in the Memphis area, including in the vicinity of TVA’s Allen Gas

Plant and Allen Coal Plant. Withdrawing large amounts of water from the Memphis

Sand Aquifer exacerbates the contamination risk.

     29.    To achieve its mission, Protect Our Aquifer and its supporters work to

raise public awareness of threats to the Memphis Sand Aquifer. Additionally, the

organization works with government, elected officials, local power distributors, and

members of the community to develop and implement strategies to manage,

monitor, and protect this drinking water source for Shelby County.

     30.     Protect Our Aquifer frequently advocates on behalf of the aquifer to

TVA and other decision makers regarding the impact of TVA’s electricity generation

on water quantity and water quality in the aquifer. Protect Our Aquifer also speaks


                                        10
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 11 of 49      PageID 11




to the media and participates in informal advocacy as well as the proceedings of

state and local public agencies regarding these impacts.

     31.     Protect Our Aquifer was founded in 2016 in response to TVA’s plan to

drill wells into the Memphis Sand Aquifer and withdraw over one billion gallons of

water per year to operate its Allen Gas Plant. Originally, TVA had proposed to

operate the Allen Gas Plant using recycled water from the nearby T.E. Maxson

Wastewater Treatment Plant.

     32.     Protect Our Aquifer organized public turnout and supported a

challenge to the Shelby County Groundwater Control Board’s issuance of well

permits to TVA for the Allen Gas Plant. Protect Our Aquifer also filed litigation

against the Shelby County Groundwater Control Board regarding its decision to

issue permits to TVA for the Allen Gas Plant wells.

     33.     In 2017, after TVA drilled its wells into the Memphis Sand Aquifer,

the federal utility disclosed extremely high levels of arsenic and other coal ash

contaminants in the shallow groundwater near a coal ash pond at its Allen Coal

Plant, less than half a mile away from the Allen Gas Plant wells. In 2018, the

United States Geological Survey and University of Memphis Center for Applied

Earth Science and Engineering Research found that operating TVA’s wells at the

Allen Gas Plant would risk pulling the contaminated shallow groundwater into the

Memphis Sand Aquifer.

     34.     In response to TVA’s disclosure of coal ash contaminants that could

further threaten the aquifer, Protect Our Aquifer provided written comments to the


                                         11
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 12 of 49       PageID 12




Shelby County Groundwater Control Board, the Tennessee Department of

Environment and Conservation, and TVA regarding the threat of coal ash

contamination to the aquifer posed by the Allen Gas Plant wells and sought to cease

the operation of the wells.

     35.     TVA subsequently announced that it would temporarily stop using its

wells and purchase water from MLGW. MLGW withdraws water from the Memphis

Sand Aquifer in order to meet TVA’s requirements for operating the Allen Gas

Plant. TVA’s Allen Gas Plant therefore continues to rely on more than one billion

gallons of water per year drawn from the Memphis Sand Aquifer.

     36.     For more than three years, Protect Our Aquifer has advocated to a

range of decision makers, including TVA, MLGW, and the Shelby County

Groundwater Board, that TVA should return to their original plan of operating the

Allen Gas Plant with recycled water.

     37.     Protect Our Aquifer has also advocated that TVA should move away

from reliance on fossil fuels like coal and gas and adopt more solar and distributed

energy resources to further reduce potential impacts on the Memphis Sand Aquifer.

     38.     Protect Our Aquifer frequently uses information from environmental

review documents prepared on behalf of TVA in order to further its mission. For

example, during the Allen Gas Plant well water controversy, Protect Our Aquifer

used and relied upon documents developed by the United States Geological Survey

on behalf of TVA during the federal utility’s environmental review process, and it

consulted with outside experts to review the data from those documents, as well as


                                        12
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 13 of 49         PageID 13




from environmental documents that TVA submitted to the Tennessee Department

of Environment and Conservation, in order to better understand the threat to the

aquifer and to provide more information and analysis to the media, the public and

to public agencies that could influence TVA’s actions.

     39.     In addition to its advocacy regarding TVA’s Allen Gas Plant wells,

Protect Our Aquifer has a history of commenting on and using information from

publicly-disclosed environmental review documents to protect the Memphis Sand

Aquifer. For example, Protect Our Aquifer joined Energy Alabama and other groups

to comment on TVA’s 2019 Draft Integrated Resource Plan and Draft

Environmental Impact Statement. Protect Our Aquifer also provided comments on

TVA’s environmental impact statement regarding the Allen Coal Ash Impoundment

Closure, comments to the Tennessee Department of Environment and Conservation

regarding TVA’s plans for dewatering the coal ash impoundment, and comments on

TVA’s rule revising its NEPA implementing procedures.

     40.     Adoption of the Never-ending Contract program across the TVA service

area is likely to lead to increased electricity demand, continued and increased use of

and investment in fossil fuel generation, a slower transition to renewable energy,

increased water usage, and increased water pollution. In Memphis, the Never-

ending Contract program is likely to result in changes to the Allen Gas Plant’s

generation pattern, which, in turn, increases the risk of greater water withdrawals

from the Memphis Sand Aquifer for many decades into the future.




                                         13
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 14 of 49            PageID 14




     41.     TVA’s adoption and implementation of its Never-ending Contract

program, without complying with NEPA’s environmental analysis, public disclosure

and public comment requirements, directly harm Protect Our Aquifer and its

supporters by increasing the likelihood of depletion of the supply of safe drinking

water available to Protect Our Aquifer supporters and will interfere with Protect

Our Aquifer’s central mission of protecting the quantity and quality of water in the

Memphis Sand Aquifer.

     42.     TVA’s adoption and implementation of its Never-ending Contracts

without complying with NEPA also directly harm Protect Our Aquifer and its

supporters   by   depriving   them   of   vital   information   about   the    potential

environmental impacts of the Never-ending Contract and depriving them of their

legally protected opportunity to participate in TVA’s decision-making process,

including examining alternatives to the Never-ending Contract. Without the

analysis and public disclosures required by NEPA, Protect Our Aquifer and its

supporters are unable to adequately assess the impact of the Never-ending Contract

on TVA’s operations and their implications for the Memphis Sand Aquifer. By

depriving Protect Our Aquifer of the opportunity to understand, comment upon and

engage in public outreach and education regarding TVA’s Never-ending Contract,

TVA is impeding Protect Our Aquifer’s ability to advocate for the preservation and

protection of the Memphis Sand Aquifer.

     43.     The need for complete information about the consequences of signing a

Never-ending Contract is particularly urgent for Protect Our Aquifer and its


                                          14
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 15 of 49         PageID 15




supporters. In Memphis, the local distributor, MLGW, is in the process of deciding

whether to leave TVA’s service altogether, maintain its existing contract with TVA,

or sign the Never-ending Contract. By disregarding its obligation to conduct

environmental review before adopting and implementing its Never-ending Contract

program, TVA has prevented Protect Our Aquifer and its supporters from using

information required to be provided by TVA to adequately evaluate the relative

impacts of MLGW’s options on the aquifer. MLGW’s decision could set energy policy

and impact local water resources in Memphis for decades to come. Without Protect

Our Aquifer’s informed advocacy, there is an increased and reasonable likelihood

that MLGW’s momentous decision will harm the Memphis Sand Aquifer. TVA has

further impeded Protect Our Aquifer’s and its supporters’ efforts to use that

information in order to encourage MLGW and other local distributors to negotiate

for contract terms with less potential to harm the Memphis Sand Aquifer.

     44.    The consequences of TVA’s Never-ending Contract program also harm

individual supporters of Protect Our Aquifer. Supporters of Protect Our Aquifer,

including its Board members, work to preserve and protect the Memphis Sand

Aquifer for the benefit of present and future generations. These supporters are

concerned about the increased likelihood of depletion of the Memphis Sand Aquifer,

and the resulting impacts on Shelby County’s drinking water source that may occur

as a result of the Never-ending Contract program. The Allen Gas Plant is likely to

be operated more often and more intensely than it would have been without the

adoption of the Never-ending Contract program, and Protect Our Aquifer’s


                                        15
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 16 of 49       PageID 16




supporters will face an increased risk of depletion of the Memphis Sand Aquifer and

their drinking water source as a result. Because the preservation of the aquifer is

important to Protect Our Aquifer’s mission, its supporters’ interests can be

represented by the organization in this suit.

     45.     The harm and injury suffered by Protect Our Aquifer and its

supporters can and should be redressed through the entry of a judgment enjoining,

setting aside, and vacating the Never-ending Contracts pursuant to Section 706 of

the APA. 5 U.S.C. § 706.

     Energy Alabama

     46.     Plaintiff Alabama Center for Sustainable Energy (d/b/a Energy

Alabama) is a non-profit 501(c)(3) organization advocating for the transition to

clean, sustainable energy in Alabama. Energy Alabama is headquartered in

Huntsville, Alabama, and was founded in 2014. Its membership includes

approximately 400 people living in Alabama who support sustainable energy that is

socially equitable, environmentally beneficial, and economically sound. Energy

Alabama brings this action on its own institutional behalf and on behalf of its

members, more than 50 of whom live in the Alabama territory served by TVA. In

TVA territory, Energy Alabama’s members are ratepayers of municipal utilities or

member-owners of electric membership cooperatives who purchase power from TVA.

     47.     Energy Alabama works to accelerate the transition to sustainable

energy through public education at all levels, informing smart energy policy, and




                                          16
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 17 of 49         PageID 17




providing technical assistance to deploy more sustainable energy in homes and

businesses throughout the state of Alabama.

     48.     Energy Alabama and its members regularly speak and submit

comments to TVA, local distributors, and local governments in order to advocate for

sustainable energy. Energy Alabama recently submitted comments to TVA along

with other organizations on the draft Environmental Assessment for TVA’s Power

Supply Flexibility Proposal, which addressed one provision within the Never-ending

Contracts. Through those comments, Energy Alabama asserted that TVA failed to

perform required NEPA environmental review before adopting and implementing

the Never-ending Contracts. Energy Alabama also provided comments to TVA on

TVA’s 2019 Draft Integrated Resource Plan and Draft Environmental Impact

Statement, and its Chief Operating Officer served on TVA’s 2019 Integrated

Resource Plan Working Group.

     49.     Energy Alabama monitors TVA activities in order to ensure that TVA

fulfills its obligations as a federal utility. In May 2019, Energy Alabama, along with

other environmental and energy non-profits, wrote to request that the TVA Office of

Inspector General open an investigation into TVA’s membership in and use of

ratepayer dollars for unincorporated trade groups, such as the Utility Air

Regulatory Group. Energy Alabama is also a plaintiff in a lawsuit in the United

States District Court for the Northern District of Alabama challenging TVA’s

decision to establish grid access fees, arguing that said decision makes it more




                                         17
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 18 of 49         PageID 18




expensive for people to connect to the electric grid and thus disincentivizes small-

scale solar energy generation.

     50.     Energy Alabama has a history of evaluating the impact of TVA’s

decisions, advocating for greater public engagement in TVA’s decision-making

process, and encouraging the development of more equitable and sustainable energy

generation throughout the state.

     51.     Energy Alabama and its members are harmed by TVA’s failure to

perform proper environmental review before adopting and implementing the Never-

ending Contract program. TVA deprived Energy Alabama and its members of

information they needed to fully assess the environmental impacts of the Never-

ending Contracts. TVA also denied Energy Alabama and its members their legally

protected opportunity to provide public comments and input on the draft

environmental review documents that NEPA requires, but TVA failed to prepare,

before TVA adopted and implemented its Never-ending Contract program.

     52.     The preparation and publication of legally required environmental

review documents would have allowed for greater citizen engagement, and would

have increased TVA’s and the public’s understanding of the consequences of its

proposed Never-ending      Contract   program. TVA’s failure to      perform    that

environmental review injured Energy Alabama and its members by denying their

right to assist TVA in making better, more sustainable energy decisions.

     53.     Without the information contained in NEPA environmental review

documents, Energy Alabama and its members are not able to participate


                                        18
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 19 of 49       PageID 19




meaningfully in local decision-making processes regarding the Never-ending

Contracts. Local distributors, who were likewise denied important information, are

therefore more likely to sign the endless agreements without fully considering

alternatives to the Never-ending Contracts or the overall consequences for

renewable energy and distributed energy resources in the TVA region. For example,

although Energy Alabama advocated for more sustainable contract terms at several

public hearings before the Huntsville Utility Board and the Huntsville City Council,

its efforts were severely constrained by the lack of complete and timely information

about the details of the proposal, its possible environmental effects, and

alternatives to the Never-ending Contract. The Huntsville Utility Board

subsequently signed the Never-ending Contract.

     54.    Energy Alabama and its members advocate for investment in solar and

distributed energy resources. This advocacy, which supports Energy Alabama’s

mission, is impeded by TVA’s Never-ending Contracts, which, because of their

perpetual nature, threaten to eliminate any opportunity for Energy Alabama and

its members to advocate to their local municipal distributors and electric

membership cooperatives to renegotiate the power supply contract for more access

to solar and distributed resources in the future. The Never-ending Contracts further

impede Energy Alabama and its members’ advocacy and goals by constraining

TVA’s and local distributors’ investments in solar and distributed energy resources,

including rooftop solar, and creating a substantial risk of less access and higher

costs for Energy Alabama and its members.


                                        19
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 20 of 49          PageID 20




     55.     Energy Alabama has members who recreate in areas of Tennessee in

which TVA fossil fuel plants pollute the water and air. Increased and prolonged

reliance on fossil fuels by TVA that is likely to occur as a result of its Never-ending

Contract program will increase and prolong the level of water and air pollution

associated with those plants. As a result, Energy Alabama members will suffer

increased health risks associated with breathing air and swimming in water

containing pollution from large coal- and gas-fired power plants.

     56.     TVA’s efforts to lock local distributors into its Never-ending Contracts,

without disclosing the environmental and community impacts of those legal

instruments, will likely lead to increased electricity demand, continuing reliance on

and investment in fossil fuel generation, a strict cap on investment in more

sustainable energy, and ultimately increased air and water pollution—all further

harming Energy Alabama and its members.

     57.     The harm and injury suffered by Energy Alabama and its members

can and should be redressed through the entry of a judgment enjoining, setting

aside, and vacating the Never-ending Contracts pursuant to Section 706 of the APA.

5 U.S.C. § 706.

      Appalachian Voices

     58.     Plaintiff Appalachian Voices is a 501(c)(3) non-profit organization. Its

mission is to bring people together to protect the land, air, and water of Central and

Southern Appalachia and to advance a just transition to a generative and equitable

clean energy economy.


                                          20
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 21 of 49       PageID 21




     59.    Appalachian Voices was founded in 1997, and is headquartered in

Boone, North Carolina, with additional offices in Charlottesville and Norton,

Virginia, Durham, North Carolina, and Knoxville, Tennessee.

     60.    Appalachian Voices has over 1,100 members throughout the country,

and combines grassroots organizing, policy advocacy, and technical expertise in

order to hold decision-makers accountable. Through public comments, education,

communication initiatives, and the provision of resources and data to electric

cooperatives, Appalachian Voices works collaboratively with local, state, and

regional partners to promote energy efficiency and encourage the development of

clean and affordable energy.

     61.    Appalachian Voices brings this action on its own institutional behalf

and on behalf of its members, more than 100 of whom live in areas served by TVA.

Appalachian Voices’ members who live in TVA’s Power Service Area are ratepayers

of municipal utilities or member-owners of rural electric membership cooperatives

that purchase power from TVA.

     62.    Appalachian Voices is committed to assisting people throughout

Appalachia in their efforts to shape the energy future of their own communities.

Appalachian Voices recently initiated an Energy Democracy Tour, a community

listening project in order to learn what the people of the Tennessee Valley want for

the future of energy in their area. Appalachian Voices gathered input at twelve

urban and rural listening sessions throughout the Tennessee Valley, including in

Memphis, Tennessee. Information from that tour was compiled to create a policy


                                        21
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 22 of 49      PageID 22




platform on how TVA can work with communities in its service territory to realize

community goals.

     63.    Appalachian Voices has a history of commenting on environmental

review documents, and of using information provided in those documents in its

advocacy and community-organizing efforts. Appalachian Voices recently joined

with Energy Alabama and other organizations in submitting comments on the draft

Environmental Assessment for TVA’s Power Supply Flexibility Proposal, noting the

lack of review for the overall Never-ending Contract program and arguing that

going forward with the Never-ending Contracts would violate NEPA. Appalachian

Voices has also reviewed, commented on, and generated public engagement around

other environmental review documents from TVA, such as the environmental

assessment on TVA’s replacement of the Green Power Providers program and the

environmental assessment on the closure of the Bull Run Fossil Plant.

     64.    Appalachian Voices has worked for years to promote energy efficiency

and energy savings, affordable renewable energy, and increased transparency and

public involvement in the decision-making process around the future of sustainable

energy throughout Appalachia, including in TVA’s Power Service Area.

     65.    TVA’s failure to perform environmental review directly prevented

Appalachian Voices and its members from providing information and commentary

to TVA during the review process. A core component of NEPA is citizen engagement

around the decisions of federal agencies, with the understanding that increased

engagement will lead to better, more informed decision-making on the part of the


                                        22
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 23 of 49        PageID 23




agency. Denying Appalachian Voices and its members the opportunity for

engagement effectively denies their right to influence and inform TVA in its

decision-making on an issue that personally affects them, and which will have

substantial effects on their ability to pursue Appalachian Voices’ organizational

mission: the advancement of equitable, democratic, and sustainable energy

generation in the region.

     66.     TVA’s failure to provide Appalachian Voices and its members, and

their local distributors, complete information about the environmental effects of the

Never-ending Contract program and alternatives to it increases the risk of locking

local distributors into a less sustainable future, as widespread adoption of said

contracts leads to increased electricity demand, continuing reliance on and

investment in fossil fuel generation, and constrained investment in more

sustainable energy—all of which are directly contrary to the goals of Appalachian

Voices as an organization.

     67.     TVA’s failure to conduct public environmental review severely

hampered Appalachian Voices’ ability to raise awareness among members of the

public regarding how to express their own views to their local municipal

distributors and electric membership cooperatives. By depriving Appalachian Voices

of the analysis provided in NEPA environmental review documents, TVA

diminished Appalachian Voices’ ability to achieve its core mission of being effective

advocates for a cleaner energy future in Appalachia.




                                         23
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 24 of 49        PageID 24




     68.     TVA’s Never-ending Contracts harm the ability of all Appalachian

Voices members to take full advantage of the clean energy jobs and economic

development that come with a transition to cleaner, renewable energy.

     69.     Appalachian Voices has members who want to promote renewable

energy by investing in their own solar and distributed energy resources. These

members are harmed and injured by TVA’s Never-ending Contracts because they

are likely to constrain TVA’s and local distributors’ investments in solar and

distributed energy resources, including rooftop solar, creating a substantial risk of

less access and higher costs for these members.

     70.     Because of the perpetual nature of the Never-ending Contracts,

Appalachian Voices members are also harmed by the lost opportunity to advocate to

their municipal distributors and electric membership cooperatives regarding the

terms of TVA’s power supply contracts to achieve greater access to solar and

distributed energy resources in the future.

     71.     By failing to perform the required environmental review, TVA fast-

tracked the adoption and implementation of its Never-ending Contracts, rushing

power distributors to make permanent decisions before Appalachian Voices and its

members were able to gather sufficient information to evaluate the impact of the

contracts. Not knowing the full details of how the Never-ending Contract program

would be implemented and alternatives to the program impaired and continues to

impair the ability of Appalachian Voices and its members to advise their municipal

distributors and electric cooperatives about the potential impacts of the contracts,


                                         24
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 25 of 49       PageID 25




increasing the risk that fewer opportunities for access to solar and distributed

energy resources will be available in Appalachian Voices members’ local distributor

service areas within TVA’s Power Service Area in the future.

     72.    TVA has injured Appalachian Voices members who are ratepayers of

municipal distributors or member-owners of electric cooperatives that have signed

or may sign the Never-ending Contract with TVA. By depriving Appalachian Voices

members of legally required NEPA disclosures, TVA hampers their ability to

advocate to their municipal distributors and electric cooperatives about the long-

term consequences of TVA’s Never-ending Contract and to educate other ratepayers

or member-owners regarding the consequences for coal- and gas-fired power,

renewable energy, and distributed energy resources, including energy efficiency.

Increasing transparency and public engagement within their electric cooperatives is

a long-standing interest for Appalachian Voices members, and the ability to pursue

this interest is severely restricted when they are denied the information they need

to most effectively educate other members of the community and influence local

decision makers. Appalachian Voices members would have used this information to

inform their communities and advocate to their electric cooperatives regarding the

Never-ending Contracts.

     73.    The harm and injury suffered by Appalachian Voices and its members

can and should be redressed through the entry of a judgment enjoining, setting

aside, and vacating the Never-ending Contracts pursuant to Section 706 of the APA.

5 US.C. § 706.


                                        25
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 26 of 49        PageID 26




                ADMINISTRATIVE PROCEDURE ACT (“APA”)

     74.     The Administrative Procedure Act, 5 U.S.C. §§ 701–706, provides that

“[a] person suffering legal wrong because of agency action, or adversely affected or

aggrieved by agency action within the meaning of a relevant statute, is entitled to

judicial review thereof.” 5 U.S.C. § 702.

     75.     The APA provides that “[t]o the extent necessary to decision and when

presented, the reviewing court shall decide all relevant questions of law, interpret

constitutional and statutory provisions, and determine the meaning or applicability

of the terms of an agency action.” 5 U.S.C. § 706. In addition, the APA provides that

a court shall “set aside agency action, findings, and conclusions” that are “found to

be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law,” “in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right,” “without observance of procedure required by law.” 5 U.S.C.

§706(2)(A)(C)&(D).

          THE NATIONAL ENVIRONMENTAL POLICY ACT (“NEPA”)

     76.     The National Environmental Policy Act is our country’s “basic national

charter for protection of the environment.” 40 C.F.R. § 1500.1(a). Congress enacted

NEPA, in part, “to promote efforts which will prevent or eliminate damage to the

environment and biosphere and stimulate the health and welfare of man.” 42 U.S.C.

§ 4321.

     77.     NEPA and its implementing regulations require “all agencies of the

Federal Government” to include “a detailed statement” on “major Federal actions


                                            26
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 27 of 49           PageID 27




significantly affecting the quality of the human environment.” 42 U.S.C. § 4332(C).

That statement, known as an Environmental Impact Statement (“EIS”), must

describe (1) “the environmental impact of the proposed action,” (2) “any adverse

environmental    effects   which   cannot    be   avoided   should   the   proposal   be

implemented,” (3) “alternatives to the proposed action,” (4) “the relationship

between local short-term uses of man’s environment and the maintenance and

enhancement of long-term productivity, and” (5) “any irreversible and irretrievable

commitments of resources which would be involved in the proposed action should it

be implemented.” Id.

     78.     Among the factors a federal agency must consider in order to

determine whether an action may “significantly affect” the environment, and

therefore require an EIS, is the “intensity” or severity of the action’s impacts. 40

C.F.R. § 1508.27(b). Among other relevant factors, the intensity of the impact must

be judged based on:

   (a) “[t]he degree to which the proposed action affects public health or safety”;

   (b) “[u]nique characteristics of the geographic area such as proximity to historic
       or cultural resources, park lands, prime farmlands, wetlands, wild and scenic
       rivers, or ecologically critical areas”;

   (c) “[t]he degree to which the effects on the quality of the human environment
       are likely to be highly controversial”;

   (d) “[t]he degree to which the possible effects on the human environment are
       highly uncertain or involve unique or unknown risks”;

   (e) “[t]he degree to which the action may establish a precedent for future actions
       with significant effects or represents a decision in principle about a future
       consideration”;



                                            27
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 28 of 49        PageID 28




   (f) “[w]hether the action is related to other actions with individually
       insignificant but cumulatively significant impacts”; and

   (g) “[w]hether the action threatens a violation of Federal, State, or local law or
       requirements imposed for the protection of the environment.”

Id. Just “one of these factors may be sufficient to require preparation of an EIS in

appropriate circumstances.” Ocean Advocates v. U.S. Army Corps of Eng’rs, 402

F.3d 846, 865 (9th Cir. 2005). An agency’s belief that a project will produce more

environmental benefit than harm does not obviate the need to conduct an EIS; “[a]

significant effect may exist even if the Federal agency believes that on balance the

effect will be beneficial.” 40 C.F.R. § 1508.27(b)(1).

      79.    When it is not readily discernible whether the environmental effects of

a proposed action will be “significant,” such that the proposal would “[n]ormally

require[] an environmental impact statement,” federal agencies may first prepare a

less rigorous Environmental Assessment (EA) in order to establish the project’s

impacts and determine whether preparation of an EIS is required. 40 C.F.R. §§

1501.4(a)-(b), 1508.9(a).

      80.    Under NEPA, “[p]roposals or parts of proposals which are related to

each other closely enough to be, in effect, a single course of action” must “be

evaluated in a single impact statement.” 40 C.F.R. § 1502.4(a).

      81.    In order to achieve Congress’ goal of preventing or eliminating damage

to the environment, federal agencies must conduct NEPA analysis at the “earliest

possible time,” fully considering and publicly disclosing the environmental

consequences of an agency action and exploring alternatives before proceeding with

the action. 40 C.F.R. §§ 1501.2, 1502.5.
                                            28
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 29 of 49          PageID 29




              TENNESSEE VALLEY AUTHORITY ACT (“TVA Act”)

      82.     Congress created TVA in 1933, and it authorized TVA, inter alia, “[t]o

produce, distribute, and sell electric power.” 16 U.S.C. § 831d(l). Under the TVA

Act, TVA “[m]ay make contracts, as herein authorized.” 16 U.S.C. § 831c(d).

      83.     Congress granted TVA limited authority “to sell the surplus power not

used in its operations.” 16 U.S.C. § 831i. Among the constraints Congress imposed

is that TVA may only “enter into contracts for [the sale of electric power] for a term

not exceeding twenty years.” Id. (emphasis added).

      84.     In selling electric power, TVA must “give preference to States,

counties, municipalities, and cooperative organizations of citizens or farmers, not

organized or doing business for profit, but primarily for the purpose of supplying

electricity to its own citizens or members.” Id. Further, with some exceptions,

Congress generally barred TVA from entering into “contracts for the sale or delivery

of power” beyond the service area TVA had established by July 1, 1957. 16 U.S.C.

§831n-4(a).

      85.     In 1992, Congress added a “least-cost planning program” to TVA’s

mandates, requiring TVA to engage in “a planning and selection process for new

energy resources which evaluates the full range of existing and incremental

resources (including new power supplies, energy conservation and efficiency, and

renewable energy resources) in order to provide adequate and reliable service to

electric customers of the Tennessee Valley Authority at the lowest system cost.” 16

U.S.C. § 831m-1(b)(1). TVA must “treat demand and supply resources on a


                                          29
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 30 of 49         PageID 30




consistent and integrated basis.” 16 U.S.C. § 831m-1(b)(2)(C).

     86.      In 2004, Congress amended the TVA Act to provide that TVA’s

“objectives and missions” include “being a national leader in technological

innovation, low-cost power, and environmental stewardship.” 16 U.S.C. § 831a(b)(5).

     87.      Finally, the TVA Board of Directors must “ensure that all activities of

the Corporation are carried out in compliance with applicable law.” 16 U.S.C. §

831a(g)(1)(H).

     TVA ADOPTS ANTICOMPETITIVE NEVER-ENDING CONTRACTS
          WITHOUT PERFORMING ENVIROMENTAL REVIEW

     88.      In its most recent quarterly filing with the United States Securities

Exchange Commission (Form 10-Q), TVA reported to investors that the energy

market is changing as consumers demand cleaner, greener energy. Specifically,

TVA stated:

      As more consumers and businesses are demanding cleaner energy, the
      utility industry is evolving to meet those needs. As TVA also evolves, it
      will see impacts to the way it does business through the pricing of
      products, transmission of energy, and development of new products
      and services for its customers in support of changing customer
      preferences and its economic development efforts. End-use customers
      are becoming more technologically sophisticated and want greater
      control over their energy usage. Many companies are focusing on
      sustainability and requiring more energy efficiency and renewable
      energy options.

(TVA Form 10-Q for quarterly period ended June 30, 2020, pg. 62).

      89.     TVA views distributed energy resources as a business risk and

competitive threat. Distributed energy resources are a broad set of customer-sited




                                         30
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 31 of 49         PageID 31




energy generation and management tools including solar, energy efficiency and

demand response.

     90.    TVA’s filings with the Securities Exchange Commission expressly

acknowledge that customer preference for renewables and other DER represents a

competitive business risk. For example, in its Form 10-K for fiscal year ended

September 30, 2018, TVA stated:

      Research and development activities are ongoing to improve existing
      and alternative technologies to produce or store electricity, including
      large-scale energy storage, gas or wind turbines, fuel cells,
      microturbines, solar cells, and distributed energy or storage resources.
      It is possible that advances in these or other alternative technologies
      could reduce the costs of such production methods to a level that will
      enable these technologies to compete effectively with traditional power
      plants such as TVA's. These technologies could be more appealing to
      customers and could lead them to bring pressure on TVA to modify the
      power contracts to allow customers to generate some of their own
      power
      requirements or purchase power from other suppliers. Other customers
      might also cease purchasing power from TVA altogether. To the extent
      that sales to such customers are reduced or eliminated, TVA's cash
      flows, results of operations, and financial condition could be negatively
      affected.

(TVA Form 10-K for fiscal year ended September 30, 2018, pgs. 38-39).

     91.    In its Form 10-K/A (Amendment No. 1) for fiscal year ended September

30, 2019, TVA stated:

      TVA also faces competition in the form of emerging technologies.
      Improvements in energy efficiency technologies, smart technologies,
      and energy storage technologies may reduce the demand for centrally
      provided power. The growing interest by customers in generating their
      own power through [distributed energy resources] has the potential to
      lead to a reduction in the load served by TVA as well as cause TVA to
      re-evaluate how it operates the overall grid system to continue to
      provide highly reliable power at affordable rates.


                                         31
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 32 of 49      PageID 32




(TVA Form 10-K/A – Amendment No. 1 for fiscal year ended September 30, 2019).
     92.   TVA also acknowledged that competitive pressures from renewable

energy resources threaten TVA’s monopolistic business model of selling power from

centrally located plants:

       TVA may have difficulty in adapting its business model to
       changes in the utility industry and customer preferences.

       The traditional business model for power production, selling power
       from centrally located plants, is facing pressure from a variety of
       sources, including the potential for self-generation by current or
       potential customers, new technologies such as energy storage, and
       increased energy efficiency. These pressures may reduce the demand
       for TVA power. If TVA does not or cannot adapt to this pressure by
       adequately changing its business model, TVA's financial condition and
       results of operations could be negatively affected.

Id. (emphasis in original).

       93.   TVA’s largest single customer is Memphis Light, Gas & Water, which

serves more than 420,000 electric consumers and accounts for approximately 9% of

TVA’s operating revenues.

       94.   TVA’s current power supply contract with MLGW affords MLGW the

opportunity to terminate its agreement with TVA upon five years’ written notice to

TVA.

       95.   In early 2019, MLGW began publicly considering whether to leave

TVA and procure electric power from other sources. Several stakeholders and other

interested parties commissioned studies at the time examining alternative power

sources and the costs and potential savings associated with MLGW’s procuring

power outside the TVA system. Those studies concluded that MLGW could save

hundreds of millions of dollars by procuring power from non-TVA sources. Such

                                        32
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 33 of 49        PageID 33




alternate sources might include self-generation of solar power, the purchase of

nuclear power, and/or the purchase of power through the Midcontinent Independent

System Operator (“MISO”), and/or the Southwest Power Pool.

     96.      Ultimately, MLGW commissioned Siemens Power Technologies to

prepare an Integrated Resource Plan to evaluate the power supply options available

to MLGW. Siemens concluded that MLGW could save $122 million annually if

Memphis builds certain local power generation facilities and joins MISO, a power

network and market place that stretches across central North America. Siemens

also concluded that MLGW could reduce carbon dioxide emissions associated with

its power consumption by more than fifty percent (50%) and dramatically increase

generation from solar and wind resources if it chooses to procure power outside the

TVA system.

     97.      In addition to MLGW, other local distributors have actively considered

obtaining power from non-TVA sources. One such distributor is Volunteer Energy

Cooperative (“VEC”), which distributes power to more than 115,900 members in all

or part of 17 Tennessee counties.

     98.      In September of 2019, VEC submitted a request for proposal to TVA,

requesting a bid for partial wholesale electric supply for service of 50% or 75% of

VEC’s load beginning on January 1, 2025.

     99.      TVA responded to VEC’s request for proposal by letter dated October 3,

2019, a true and correct copy of which is attached hereto as Exhibit A.




                                         33
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 34 of 49        PageID 34




     100.    TVA declined to submit a proposal to VEC for service of 50% or 75% of

VEC’s load as requested. Instead, TVA offered VEC a Never-ending Contract.

     101.    Upon information and belief, VEC has not signed a Never-ending

Contract.

     102.    In response to competitive pressures, including from renewable energy

resources, as well as several distributors’ public consideration of alternative power

sources, TVA decided to develop and implement a new program designed to

preserve its monopolistic stronghold over the generation and sale of wholesale

electric power in the Tennessee Valley.

     103.    TVA refers to its new program as the “Long Term Partnership Option

for Local Power Companies.” The central feature of that program is to offer TVA’s

distributors exclusive “long-term agreements” that never expire and, for all

practical purposes, will never be terminated once signed and in effect. These Never-

ending Contracts also place perpetual caps of three to five percent (3-5%) on the

amount of power that local distributors can procure from non-TVA clean energy

sources such as solar or other distributed energy resources.

     104.    A true and correct copy of TVA’s Long-Term Agreement form is

attached hereto as Exhibit B.

     105.    TVA prepared the form Long-Term Agreement that is attached as

Exhibit B.

     106.    Although the purported initial term of TVA’s proposed “long-term

agreement” is twenty (20) years, that term extends automatically each year so that


                                          34
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 35 of 49         PageID 35




the length of the contract term never erodes and the contract never expires with the

passage of time. Specifically, Section 1 of the agreement states in pertinent part as

follows:

      This contract is effective as of [DATE1], and will continue in effect for
      an initial term of 20 years from [DATE1], provided, however, that
      beginning on the first anniversary of said effective date, and on each
      subsequent anniversary thereof (whether falling during said initial
      term or any renewal term as provided for herein), this contract shall be
      extended automatically without further action of the parties for an
      additional 1-year renewal term beyond its then-existing time of
      expiration.

      107.   The Never-ending Contract also provides that, if a local distributor

wants to terminate its agreement with TVA, it must provide TVA with twenty (20)

years’ advance written notice of termination. In such event, TVA will have no

obligation to make or complete any additions to or changes in any transformers or

transmission lines that service the terminating local distributor during the twenty-

year termination period. Specifically, the agreement provides:

      Notwithstanding       any   other     provision     of    this   section,
      [Cooperative/Municipality] may terminate this contract at any time
      upon not less than 20 years' prior written notice, and TVA may
      terminate this contract upon not less than 20 years’ prior written
      notice. If [Cooperative/Municipality] delivers a notice of termination to
      TVA, as stated above, then from and after its date of receipt of such
      notice, TVA will have no obligation to make or complete any additions
      to or changes in any transformation or transmission facilities for
      service to [Cooperative/Municipality], unless (by means of a fully-
      executed amendment to this contract) [Cooperative/Municipality]
      agrees to reimburse TVA for its non-recoverable costs in connection
      with the making or completion of such additions or changes.

      108.   The practical effect of the automatically renewing and non-expiring

contract term, coupled with TVA’s onerous and punitive termination clause, is that

the so-called long-term agreements, once signed, will last forever. TVA enjoys
                                      35
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 36 of 49          PageID 36




complete monopoly power throughout its service area, and it is fully aware that the

inability of a local distributor to foresee the future over a span of two decades will

always prevent a local distributor from providing a twenty-year notice of

termination of a Never-ending Contract. No reasonable governing body of a

municipal distributor or electric cooperative could ever decide to provide TVA with a

twenty-year notice of termination and thus suffer the associated penalties during

the twenty-year termination period.

     109.    The anticompetitive Never-ending Contracts are also exclusive. Under

Sections 3(b)(2)&(e) of the contracts, local distributors are forbidden from selling or

supplying power that is not provided by TVA. If a local distributor supplies

customers with power not supplied by TVA, such action constitutes a default under

the agreement, thereby giving TVA the contractual right to recover for TVA’s “losses

of revenue and load served” plus attorneys’ and administrative costs.

     110.    Under the guise of providing “enhanced flexibility” to the local

distributors, TVA places a cap of three to five percent (3-5%) on the amount of

power that local distributors can procure locally from clean energy sources such as

solar or other distributed energy resources. Specifically, the Never-ending Contract

provides:

      TVA commits to collaborating with Distributor (and other distributors
      of TVA power who have executed a similar long-term agreement) to
      develop and provide enhanced power supply flexibility, with mutually
      agreed-upon pricing structures, for 3-5% of Distributor’s energy, by no
      later than December 31, 2021.




                                          36
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 37 of 49            PageID 37




      111.   In order to pressure and entice local distributors into signing Never-

ending Contracts, TVA adopted a carrot and stick approach. TVA offers the

contracts to local distributors on a ‘take it or leave it’ basis. The contracts provide a

3.1% Wholesale Credit against energy charges paid to TVA by local distributors

that sign the agreements. TVA does not provide a corresponding Wholesale Credit

to local distributors who decline to sign the perpetual agreements. Thus, TVA

established a new contract regime in which some local distributors enjoy favored

status while others are treated like second-class citizens.

      112.   Those local distributors that do not sign Never-ending Contracts, and

therefore do not receive the Wholesale Credit, suffer a competitive disadvantage as

compared to their signing neighbors. Non-signing distributors are required to pay

more for the electric power purchased from the TVA, thereby making it more

difficult to attract power- consuming industries and jobs into their communities.

      113.   In   2019,   TVA     prepared      an   Integrated   Resource   Plan    and

accompanying Environmental Impact Statement. Those documents did not discuss

or analyze the environmental effects of TVA’s so-called “long-term agreements,” i.e.,

the Never-ending Contracts.

      114.   On July 31, 2019, TVA’s CEO and CFO prepared a memorandum to

TVA’s Board of Directors recommending that the Board authorize TVA’s use of the

so-called “long-term agreements.” At that time, the weighted average length of the

termination notice required under TVA’s then-existing wholesale power contracts

with local distributors was less than seven years.


                                           37
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 38 of 49        PageID 38




     115.    The   TVA    Board    of   Directors   considered   TVA   management’s

recommendation at its August 22, 2019 Board Meeting. The TVA Board approved

TVA’s use of the so-called long-term agreements “contingent upon satisfactory

completion of any required environmental reviews.” (Minutes of Meeting of TVA

Board of Directors – August 22, 2019, pg. 29).

     116.    A true and correct copy of the minutes of the TVA Board of Directors’

August 22, 2019 meeting is attached hereto as Exhibit C.

     117.    Rather than follow the Board’s directive to undertake “required

environmental reviews,” TVA management rushed to implement Never-ending

Contract across the TVA region while disregarding completely the statutory

mandates of NEPA. For example, TVA offered a Never-ending Contract to its

second largest customer, Nashville Electric Service (“NES”), shortly after the TVA

Board’s conditional approval, and NES adopted the contract six days later.

     118.    TVA completely dismissed the legal requirements of NEPA, thereby

avoiding the disclosure, analysis, public participation, and public comment

procedures mandated by the statute. Instead, TVA rushed forward to sign and

implement as many Never-ending Contracts across the Tennessee Valley as quickly

as possible. In fact, as of September 30, 2019, 131 of the 153 local distributors

across the TVA region had adopted Never-ending Contracts. As of April 3, 2020, 138

of TVA’s local distributers had adopted Never-ending Contracts.

     119.    After signing 138 Never-ending Contracts, TVA began a limited NEPA

review regarding a single provision contained in those contracts. Through the


                                          38
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 39 of 49         PageID 39




contracts’ “Flexibility Proposal” provision, TVA had already “commit[ted] to

collaborating with Distributor (and other distributors of TVA power who have

executed a similar long-term agreement) to develop and provide enhanced power

supply flexibility, with mutually agreed-upon pricing structures, for 3-5% of

Distributor’s energy.” On April 3, 2020, TVA published for comment a draft

Environmental Assessment, which considered the environmental impacts of the

Flexibility Proposal provision but ignored the environmental impacts of the Never-

ending Contracts overall. Plaintiffs Energy Alabama and Appalachian Voices

commented that such NEPA review was too little, too late: NEPA required TVA to

consider the impacts of the overall Never-ending Contracts and alternatives before

signing them, and that analysis has never occurred. On June 22, 2020, TVA

finalized the Flexibility Proposal EA. To date, TVA has not published any NEPA

review—whether an EIS, EA, or even the invocation of a categorical exclusion—

addressing in detail the potentially significant effects of and alternatives to the

Never-ending Contract program.

                              CLAIMS FOR RELIEF

         Claim One – TVA Violated NEPA and the APA by Failing to
                Conduct Required Environmental Review

     120.    All allegations stated above are incorporated herein by reference.

     121.    NEPA requires federal agencies to prepare a detailed Environmental

Impact Statement for all “major federal actions significantly affecting the quality of

the human environment.” 42 U.S.C. § 4332(C). When it is not readily discernible

whether the environmental effects of a proposed action will be “significant,” federal

                                         39
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 40 of 49            PageID 40




agencies may first prepare a less rigorous Environmental Assessment in order to

establish the project’s impacts. 40 C.F.R. §§ 1501.4(b), 1508.9(a)(1). If impacts are

likely to be significant, however, an EIS is then required.

     122.    NEPA requires federal agencies to conduct environmental analysis at

the “earliest possible time,” fully considering and publicly disclosing the

environmental consequences of an agency action and alternatives before proceeding

with the action. 42 U.S.C. § 4332(C); 40 C.F.R. §§ 1501.2, 1502.5. Moreover, the

TVA Board of Directors conditioned its approval of the so-called long-term

agreements “upon satisfactory completion of any required environmental reviews.”

In spite of those clear requirements, TVA chose to disregard the requirements of

NEPA completely, and it began entering into Never-ending Contracts with local

distributors almost immediately after receiving the Board’s conditional approval.

     123.    TVA violated NEPA, 42 U.S.C. § 4332(C), by failing to prepare an EA

or EIS before it adopted and implemented Never-ending Contracts.

     124.    TVA’s system-wide adoption and implementation of Never-ending

Contracts is a major “federal action” under NEPA. See 40 C.F.R. § 1508.18(b)(3)

(listing examples of agency actions, including “[a]doption of programs, such as a

group of concerted actions to implement a specific policy or plan”).

     125.    TVA’s   Never-ending     Contracts   are   likely   to    have   significant

environmental impacts. The long-term agreements will likely affect the quality of

the air, water, wildlife, public health, and economic wellbeing in TVA’s seven-state,

80,000-square mile region in perpetuity.


                                           40
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 41 of 49      PageID 41




      126.      The Never-ending Contracts commit TVA and local distributors to

binding legal instruments with everlasting consequences, and they will shape the

nature and scope of the load requirements placed upon the TVA energy grid

indefinitely.

      127.      The Never-ending Contracts insulate TVA from market forces and

competitive pressures, thereby hindering the growth of renewable energy and

distributed energy resources in the Tennessee Valley. The Never-ending Contracts

effectively insulate TVA from competition at a time when local distributors,

residents, and commercial and industrial customers are demanding more renewable

and distributed energy. Insulation from competitive market forces will forever

constrain the development of renewable energy in the TVA region, resulting in

greater emissions of greenhouse gases and other pollutants.

      128.      TVA’s increased reliance on coal and gas-fired power plants, which

must be operated with millions of gallons of water, will have lasting and harmful

consequences for the Valley’s aquifers and surface water resources.

      129.      The Never-ending Contract program is likely to result in increased

energy consumption while constraining TVA’s and local distributors’ investments in

solar and distributed energy resources, further exacerbating TVA’s greenhouse gas

emissions, other pollution and water consumption.

      130.      The Never-ending Contracts also have harmful cumulative impacts

when added to TVA’s previous pattern and practice of disfavoring the development

of DER and renewable solar power generation. For example, in 2018 TVA adopted a


                                          41
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 42 of 49        PageID 42




rate structure change that discourages distributed energy and energy efficiency. In

2019, TVA terminated its Green Power Providers program, a rooftop solar program

that compensated customers who generate their own solar power for the value they

provide to the grid and to the Valley. In fact, TVA’s 2019 Integrated Resource Plan

expressly acknowledges that TVA has “reduced” energy efficiency incentives.

     131.      Adoption of the Never-ending Contract as the standard agreement

across the TVA region sets a dramatic and game-changing precedent in the

Tennessee Valley energy market. The long-term agreement has proven highly

controversial as multiple local distributors, including some of the region’s largest,

explore whether to terminate their relationships with TVA.

     132.      By signing Never-ending Contracts, TVA irretrievably committed its

resources to servicing local distributors under the confines of those perpetual legal

instruments.

     133.      By adopting and implementing the Never-ending Contracts without

conducting NEPA environmental review, TVA harmed the interests of Conservation

Groups and their members and directly injured them. TVA prevented Conservation

Groups and their members from receiving required disclosures and analysis about

the human and environmental impacts of TVA’s planned course of action and a

range of alternatives to that action. TVA prevented Conservation Groups and their

members from commenting upon, participating in, and influencing TVA’s planned

course of action before TVA irretrievably committed resources to the program. TVA

prevented the Conservation Groups from undertaking their core advocacy missions


                                         42
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 43 of 49       PageID 43




by failing to allow them to arm themselves with facts and analysis that should be

contained in legally required NEPA disclosures. As a result, TVA prevented

Conservation Groups and their members from effectively advocating to local

distributors that they should eschew the Never-ending Contracts. Likewise, TVA

prevented Conservation Groups from effectively pushing back against the Never-

ending Contract program on behalf of Conservation Groups’ individual members,

thereby inhibiting Conservation Groups’ ability to protect the interests of their

individual members.

     134.    TVA’s failure to undertake required NEPA review before adopting and

implementing the Never-ending Contracts was “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

Accordingly, the Never-ending Contracts must be held unlawful and set aside as

required by Section 706(2) of the APA. 5 U.S.C. § 706(2).

     135.    TVA’s failure to undertake required NEPA review before adopting and

implementing the Forever Contracts occurred “without observance of procedure

required by law.” 5 U.S.C. § 706(2)(D). Accordingly, the Never-ending Contracts

must be held unlawful and set aside as required by Section 706(2) of the APA. 5

U.S.C. § 706(2).

     136.    TVA’s failure to undertake required environmental reviews as

mandated by the TVA Board of Directors’ August 22, 2019 conditional approval of

the Never-ending Contracts was “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). Accordingly, the Never-


                                         43
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 44 of 49         PageID 44




ending Contracts must be held unlawful and set aside as required by Section 706(2)

of the APA. 5 U.S.C. § 706(2).

            Claim Two – TVA Violated the TVA Act and the APA by
                    Entering into Perpetual Agreements

     137.    All allegations stated above are incorporated herein by reference.

     138.    The TVA Act authorizes TVA to enter into agreements for the sale of

electric power “for a term not exceeding twenty years.” 16 U.S.C. § 831i (emphasis

added).

     139.    The TVA Act does not authorize TVA to enter into agreements for the

sale of electric power that exceed twenty years.

     140.    The TVA Act does not authorize TVA to enter into agreements for the

sale of electric power that never expire with the passage of time.

     141.    Although the purported initial term of TVA’s Never-ending Contracts

is twenty (20) years, that contract term extends itself automatically each year so

that contract never expires with the passage of time.

     142.    The punitive notice and termination provisions contained in TVA’s

Never-ending Contracts have the practical effect of preventing local distributors

from terminating the agreements once signed. The Never-ending Contracts provide

that, if a local distributor wants to terminate its agreement with TVA, it must

provide TVA with twenty (20) years’ advance written notice of termination. In such

event, TVA will have no obligation to make or complete any additions to or changes

in any transformers or transmission lines that service the terminating distributor

during the twenty-year termination period. Further, distributors will lose the 3.1%

                                          44
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 45 of 49        PageID 45




Wholesale Credit, incurring higher rates and placing them at a competitive

disadvantage relative to non-terminating distributors.

      143.   TVA enjoys complete monopoly power throughout its service area. TVA

is fully aware that the inability of a local distributor to foresee the future over a

span of two decades will always prevent a local distributor from providing a twenty-

year notice of termination of a Never-ending Contract.

      144.   By entering into Never-ending Contracts that exceed the TVA Act’s

statutory limit of twenty (20) years, TVA harmed the interests of the Conservation

Groups and their members and directly injured them.

      145.   Before TVA implemented the Never-ending Contract program, the

weighted average length of the termination notice required under TVA’s then

existing wholesale power contracts with local distributors was less than seven

years.

      146.   In addition to lasting forever, the subject agreements contain

restrictive caps of three to five percent (3-5%) on the amount of power that local

distributors can procure locally from clean energy sources such as solar or other

distributed energy resources. Moreover, those contracts are exclusive, meaning that

local distributors are forbidden from selling or supplying power outside the confines

of the contract.

      147.   By entering into perpetual agreements that threaten to permanently

hobble the development of clean energy resources such as solar and wind, TVA

prevents Conservation Groups from achieving their common organizational


                                         45
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 46 of 49        PageID 46




missions of promoting the expansion of clean, renewable energy in the Tennessee

Valley.

     148.    By entering into perpetual energy contracts, TVA prevents the

Plaintiff Protect Our Aquifer from periodically advocating to local distributors that

the distributors should search for cleaner renewable power not controlled by TVA,

thereby reducing the impacts of TVA power generation on the Memphis Sand

Aquifer and other Tennessee water resources. By cementing TVA’s reliance of fossil

fuels and permanently insulating TVA from competitive market forces at play in the

broader energy market, Never-ending Contracts permanently hamper the ability of

Protect Our Aquifer to influence TVA’s future power generation and use of water

resources. Perpetual contracts prevent Plaintiff Protect Our Aquifer from

periodically advocating to TVA and local distributors to adopt or amend their power

supply contracts to increase renewable power, thereby protecting local and state-

wide water resources.

     149.    By entering into perpetual energy contracts, TVA prevents the

Plaintiff Energy Alabama from periodically advocating to local distributors in

northern Alabama that those distributors should search for cleaner renewable

power not controlled by TVA. Similarly, the perpetual contracts prevent Energy

Alabama from periodically advocating to TVA and local distributors to adopt or

amend and implement contracts that promote distributed and renewable energy.

TVA’s perpetual agreements directly interfere with Energy Alabama’s central

mission of promoting the adoption of clean, sustainable energy in Alabama.


                                         46
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 47 of 49          PageID 47




     150.    By entering into perpetual energy contracts, TVA prevents the

Plaintiff Appalachian Voices from periodically advocating to rural electric

cooperatives and other local power distributors that they should increase their use

of cleaner renewable power not controlled by TVA. TVA’s perpetual agreements also

prevent Appalachian Voices and its members from periodically encouraging

member-owned electric cooperatives to negotiate for more favorable contract terms

with TVA. By tying the hands of electric cooperatives in perpetuity, TVA undercuts

completely Appalachian Voices’ central mission of democratizing decision-making

processes employed by member owned electric cooperatives. The perpetual contracts

prevent Appalachian Voices from periodically advocating to TVA and member-

owned electric cooperatives to adopt and implement contracts that promote local

control and distributed and renewable energy. By cementing TVA’s reliance on

fossil fuels and permanently insulating TVA from competitive market forces at play

in the broader energy market, Never-ending Contracts permanently hamper the

ability of Appalachian Voices to influence TVA’s future power generation decisions.

     151.    TVA’s adoption and implementation of perpetual energy contracts in

violation of Section 831i of the TVA Act contravenes the APA’s prohibition against

agency action “in excess of statutory jurisdiction, authority or limitations.” 5 U.S.C.

§ 706(2)(C). Accordingly, the Never-ending Contracts must be held unlawful and set

aside as required by Section 706(2) of the APA. 5 U.S.C. § 706(2).

     152.    TVA’s adoption and implementation of perpetual energy contracts in

violation of Section 831i of the TVA Act was “arbitrary, capricious, an abuse of


                                          47
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 48 of 49                PageID 48




discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

Accordingly, the Never-ending Contracts must be held unlawful and set aside as

required by Section 706(2) of the APA. 5 U.S.C. § 706(2).

                                   PRAYER FOR RELIEF

          WHEREFORE, based upon all the allegations contained in the foregoing

paragraphs, the Plaintiff Conservation Groups respectfully request the following

relief:

          a) a judicial declaration that TVA’s use of the above described Never-ending

             Contracts, without preparing an Environmental Impact Statement or

             conducting    other    environmental   review,    violates     the    National

             Environmental Policy Act, 42 U.S.C. § 4332(C);

          b) a judicial declaration that TVA exceeded its statutory authority by

             entering into perpetual energy contracts in violation of Section 831i of the

             TVA Act, 16 U.S.C. § 831i;

          c) a finding under the Administrative Procedures Act that TVA’s conduct as

             described above was “arbitrary, capricious, an abuse of discretion, or

             otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A);

          d) a finding under the Administrative Procedures Act that TVA’s conduct as

             described above was “in excess of statutory jurisdiction, authority, or

             limitations,” 5 U.S.C. § 706(2)(C);

          e) a finding under the Administrative Procedures Act that TVA’s conduct as

             described above was “without observance of procedure required by law,” 5

                                             48
Case 2:20-cv-02615-TLP-atc Document 1 Filed 08/17/20 Page 49 of 49       PageID 49




         U.S.C. § 706(2)(D);

      f) a judgment setting aside and vacating the Never-ending Contracts

         described above pursuant to Section 706(2) of the Administrative

         Procedures Act, 5 U.S.C. § 706(2);

      g) an injunction against TVA entering into additional perpetual energy

         contracts;

      h) an injunction requiring TVA to comply with the terms of the National

         Environmental Policy Act, 42 U.S.C. § 4332(C), before implementing

         system-wide energy contract programs that significantly affect the

         environment;

      i) an award of attorney fees and all recoverable costs pursuant to 28 U.S.C. §

         2412(d); and/or

      j) such other relief as this Court deems just and equitable.

                                      Respectfully submitted,

DATE: August 17, 2020

                                              s/George Nolan
                                              George Nolan, BPR#014974
Attorneys for Protect Our Aquifer,            Amanda Garcia, BPR#033773
Alabama Center for Sustainable                O. W. “Trey” Bussey, BPR#037814
Energy (dba Energy Alabama), and              Chelsea Bowling, BPR#037812
Appalachian Voices                            Southern Environmental Law Center
                                              1033 Demonbreun Street, Suite 205
                                              Nashville, TN 37203
                                              Telephone: (615) 921-9470
                                              Facsimile: (615) 921-8011
                                              gnolan@selctn.org
                                              agarcia@selctn.org
                                              tbussey@selctn.org
                                              cbowling@selctn.org
                                        49
